EXHIBIT 1

Case: ltlS-cv-ZOOZS-FAM Document #: 8 Entered on FLSD Docket: 02/27/2018 Page 1 Of 1

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORlDA
Case Numbcr: 18-20023-CIV-MORENO

INCARCERATED ENTERTAINMENT, LLC
and EFRAIM DIVEROLI,

Plaintiffs,

vs.
MATTHEW BEVAN COX,

.. f_ . ___
Dmcndo.ui.

/
ORDER OF DISMISSAL WITHOUT PREJUDICE

THIS MATTER is before the Court upon a sua sponte review of the record.

This case is duplicative of two related cases in the Middle District of Florida: (l) 8:16-cv- .
01302-MSS-ASS (presently on appeal before the United States Court`of Appeals for the
Eleventh Circuit) and (2) 8:17-cv-03108-MSSFJSS. Accordingly, i1. is

AD.]UDGED that this action is DISMISSED WITHOUT PREJUDICE, with leave to
refile this case iri the United States District Court for the Middle District of Florida. It is also

ADJUDGED that all pending motions are DENIED AS MOOT with leave to refile if
appropriate n - V/L

DONE AND oRDERED in chambers ar Miami, Florida, this 2 of February,
2018.

 

 

 

' FEDERIC . No
UNITED ATES msch JUDGE

Copies furnished to:

Counsel of Record

Malthew Bevan Cox, Pro Se

40171-018

Colernan Low F ederal Cor‘reetional Institution
lnmate MailfParcels

Post Oche Box 1031

Co`leman, FL 3352]

EXHIBIT 2

Case: 1:18-cv-20023-FAM Document #: 4 Entered on FLSD Docket: 01/04/2018 Page l of 2

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRlCT OF FLORIDA
Miami Div-ision
Case Number: 18-20023-CIV-MOR.ENO

INCARCERATED ENTERTAINMENT, LLC
and EFRAIM DIVEROLI,

Piaintiffs,

VS.

MATTHEW BEVAN COX,

Defendant.

NOTICE OF COURT PRACTICE IN REMOVAL CASES

THIS CAUSE came before the Court upon a sua sponte review of the record.

Counsel for the non~removing party must tile a motion to remand the case on the basis
of any defect other than lack of subject matter jurisdiction within 30 days after the filing of the
notice ofremoval under 28 U.S.C. § l446(b).

Counsel for the removing party is directed to file a Removal Sta!us Report no later than
Janua;'y 18, 2018. ln addition to the Removal Starus Report, counsel for the removing party
must tile copies of all records and proceedings in the state court proceedings by the
aforementioned date. Failure' to file a timely Removal Status Repor! shall be grounds for
remand. Additionally, Counsel's failure to timely tile all relevant state court pleadings shall be
interpreted as an abandonment of F ederal jurisdiction and will result in remand of the case.

The Removal S!a!us Reporf shall contain the following:

I. A plain statement of the nature of the claim and any counterclaim, cross-claim, or
third-party claim, made in state or federal court including the amount of damages

claimed and any other relief sought

»__`___a___ .

Case: 1:18-cv-20023-FAM Document #: 4 Entered on FLSD Docl<et: 01/04/2018 Page 2 ot 2

2. A plain statement of the grounds for removal and a listing of all parties to the action,
including parties to any third party claim.

3. A list of all pending motions

4. A brief statement by each Defendant explaining whether or not each has joined the
notice of removal.

5. State whether the Defendant has removed the action within 30 days after the receipt
by the Defendant of a copy of the initial pleading setting forth the claim for relief
upon which such action or proceeding is based.

If the removing party has provided some or all of the information requested above,
briefly summarize the information requested and direct the Court to the location of the
information in the record. Failure of the removing party or parties to timely provide the
information requested in the Removal S!atus Repor! above or required pursuant to 28 U.S.C. §
l446(a) may result in remand of the action.

Counsel for the removing party shall provide copies of this Notice to all concerned
parties

DONE AND ORDERED in Charnbers at Miami, Florida, this 3 701` January 2018.

   

  

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TES DISTR]CT JUDGE

 

Copies furnished to:
Counsel of Record

Matthew Bevan Cox, Pro Se

40171-018

Coleman Low Federal Correctional Institution
lnmate Mail/Parcels

Post Oftice Box 1031

Colernan, FL 33521

EXH[BI'I` 3

Case: 1:18-cv-20023-FAM Document #: 12 Entered on FLSD Docket: 03/29/2018 Page 1 of 1

UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRJCT OF FLOR_IDA
Case Number: lS-ZOOZS-CIV-MORENO

l`NCARCERATED ENTERTAINMENT, LLC
and EPRAIM DIVEROLI,

Plaintift`s,

VS.

MATTHEW BEVAN COX,

Det`endant.
/

OR_DER DENYING I)EFENDANT'S MOTION UNDER RULE 59(€) TO ALTER ANI)
AMEND THIS COURT'S FEBRUARY 27, 2018 ORDER OF DISMISSAL

THlS CAUSE came before the Court upon Defendant's Motion Under Rule 59(e) to Alter

and Amend This Court‘s February 27, 2018 Order of Disrnissal (D.E. 11), filed on March 26,

2018.

THE COURT has considered the motion, the pertinent portions of the record, and being

otherwise fully advised in the premises, it is
AD.]UDGED that the motion is DENIED.

DONE AND ORDERED in Chambers at Miamil, Florida, this j if Ma_rch 2018.

 

FE o A. MORENO
curran starns nisriucr moon

Copies furnished to:
Counsel of Record

Matthew Bevan Cox, Pro Se

40171 -01 8

Coleman Low Federal Correctional lnstitution
lnmate Mail/Parcels

Post Off`lce Box 1031

Colernan, FL 33521

liX[-I]BI'I`£&

IN THE CIRCU]T COURT OF THE ELEVENTl-I JUDICIAL CIRCUIT
IN AND FOR MIAMI~DADE COUNTY, FLORIDA
CASE NUMBER.'

lNCARCERATED ENTERTAINMENT
, LLC., a Florida Limited Liability
Corporation, and EFRAIM DIVEROLI,

an individual,
Plaintiffs,

V.

MATTHEW BEVAN COX,
an individua], i
|

Defendant.
l

 

COMPLAINT
Plaintiffs lncarcerated Enteitainment, LLC., (“IE") and Efraim Diveroli (“DIVEROLI”), by and through j

undersigned counsel, sue the Defendant Matthew Bevan Cox ("'COX”), and as grounds therefore, alleges as

follows:
l . .l URISDICTION

l. 'l`his is an action for Declaratory ludgment pursuant to Chapter 86, Florida Staiutes.
2. Plaintift` 113 is a Florida limited liability company.

Plaintifi", Dl\/EROLI, is a thirty-year-old entrepreneur and former international arms dealer, who resides

in Miami-Dade County, Florida.
4. Defendant C()X is an inmate at the Federal Correctional Complex, Coletnan in Sumter County, Florida.
Venue is proper in l\/liarni~l)ade County, l~"lorida pursuant to Florida Slatute § 47.0] l . The parties entered
into a written agreement, described below, in which they agreed that jurisdiction and venue were proper

in this Coutt.

6. All conditions precedent to the filing of this action have been satisfied, excused, and/or waived

7.

10.

ll.

Plaintiff has retained counsel to prosecute this matter and has obligated itself to pay a reasonable fee for

counsel’s service along with all associated costs.

II. FACTS

 

DlVEROLI’s sensational backstory is that of a lwenty*one year old high school dropout whose company
was awarded several hundred million dollars in arms and ammunition contracts by the United States
government during the global war on tcrror.

COX is a convicted mortgage fraudster who owes over $5,000,000 in restitution to his victims
DIVEROLI and COX met while inmates at the Federal Correctional Complex located at Coleman, FL.
On April 8, 2013, DlVEROLl and COX executed a “WORK-FOR-HIRE CO-AUTHOR AGREEMENT”
(“WFH Agreement”). A true, complete, and authentic copy of the WFH Agreement'is attached as Exhibit
A.

The object and purpose of the WFI-l Agreement was for COX to assist DIVEROLI in writing a full length
memoir of DIVEROLI as the subject and author and COX as the co-author for hire and to assign all

ownership rights in the memoir and forthcoming copyright to Diveroli.

. Paragraph 2 of the WFH Agreernent clearly assigned the copyright for any work created under the WFH

Agreement to DIVEROLI_

. Consideration provided by DiVEROLl to COX for his Worl<-for-hire services are outlined in paragraph

ll ot` the WFA Agreement. DlVEROLl paid COX $500 and agreed to future payments of“ten percent

(10%) of gross loyalties actually received directly by Subject/Aulhor or any business or corporation set

up to receive income from the sale, license or disposition of the Worl<.” DIVEROLI also agreed to pay

COX. “[fjive percent (5%) of gross royalties actually received directly by Subject/Author or any business

or corporation set up to receive income from the sale, license or disposition of any derivatives and/or
ancillary products developed from the Worl<.”

14. ln accordance with the WFH Agreement, a manuscript was completed and titled “Once a Gun Runner”.

15. On February 20, 2014, Diveroli registered Once o Gun erner with the United States Copyright Oftice,
which provided Registration Number TXu00191 1676.

16. On April 25, 2016, Diveroli submitted for recording with the United States Copyright Offrce a corrective
copyright registration for Once o Grrn Runner, which was filed to correct numerous errors and inadvertent
omissions in the original Copyright registrationl A true, complete, and authentic copy of the corrective
copyright registration is attached as Exhibit B. The corrective copyright registration provides that Cox li
transferred his rights in the copyright to Diveroli by written assignment

17. On April 25, 2016, DlVEROLl assigned all rights, title, and interest in the Once o Gtm Rttnncr Copyright j
and the works contained therein to lE.A true, complete, and authentic copy of the assignment is attached l
as Exhibit C. The assignment was also recorded with the United States Copyright Oi`tice on May 27, 201 6.

18. Additionally, on April 25, 2016, DIVEROLI assigned all rights, title, and interest in his life story rights
to lE. A true, complete, and authentic copy of the assignment of life story rights is attached as Exhibit D.

19. Warner Br'os. Pictures released the motion picture Wm~ Dogs in 2016, which was purportedly “based on"
the story of DIVER()Ll and his conrpany, AEY, lnc.

20. IE published Once o Gun Rumrer and has sold approximately 1,030 copies as oi`November 14, 2017.

On multiple occasions, lE attempted to ascertain account information to pay COX his percentage of the

21.

gross proceeds from the sale of 01ch o Gun Runner. On each occasion he declined to provide payment

instructions because he owes criminal restitution and does not want the money to be seized by tire

gO 'v'€l°l'll]'l€lli.

22. ln total, lE has lost tens of thousands of dollars on the book. `

23.

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31.

IE filed a lawsuit against Warner Bros. Pictures, alleging, inter ah'a, Lanham Act false advertising
violations T he suit was filed in the United States District Court in the Middle District of Florida, case

number 8:16~CV-1302-'l`-35UA (IGC).

After the case had been pending for over a year, COX sought to intervene on the basis that he is the legal
copyright holder of DIVEROLI’s memoir, Once a sz Rzrrmer.
Before filing his Motion to Intervene, COX had never asserted ownership rights in the Once a Gim Rzmner
copyright and had never made a request or demand for payment pursuant to the WFH Agreement.
On November 14, 2017, before the Court ruled on COX's Motion to Intervene, IE filed a Joint Stipulation
of Dismissal With Prejudice.
IE and DIVEROLI recognize their obligation to compensate CO`X for 10% of the gross sales proceeds
from the sales of Once n Gun Runner pursuant to the WFi-l Agreement.

lll. COUNT I- DECLARATORY JUDGMENT
Plaintiffs re~allege and re~incorporatc paragraphs 1-27 as if stated fully hereinl
This is an action for Declaratory Judgment pursuant to Fla. Stat. § 86.021 wherein Plaintif`fs have a
bonai`ide, actual, present, and practical need for a determination by this Court as to Plaintift`s’ rights and
status with regards to the WFH Agrecrncnt, DIVEROLI’s life rights, and the Once a sz Rzmner
manuscript and book.
According to his attempted intervention into IE’s federal court lawsuit against Wamer Bros. Pictures,
COX claims some right(s) in the Once o Gun Rzr)mer copyright or, potentially, in Diveroli`s life story.

Plaintiffs contend that lE owns all rights to Diveroli’s life rights and life story and to Orrce n Gtm Runner,

including all rights in the copyright.:

WHEREFORE, Plaintiff respectfully requests that this Court take jurisdiction of this matter and the parties hereto

and enter judgment declaring

a.

g.

h.

The only controlling agreement between the parties is the April 8, 2013 Work-For-Hire Co-Author

Agreement;

That Defendant COX has no interest in Plaintiff DIVEROLI’s life rights or life story;

That IE is the sole copyright holder to the book, Once n Gtm Rzmner;

That IE has the sole and exclusive right to scll, license, and dispose of the book and any related or
l

derivative products

That Defendant COX has no right to receive any compensation related to the book other than 10% l

of gross royalties actually received by DIVEROLI and/or IE from the sale, license, or disposition r

of the book and 5% of gross royalties actually received by DIVEROLI and/or lE from the sale, F
license of disposition of any derivatives and/or ancillary products developed from the book.;
Mal<e a determination as to what amounts may be owed to either Party;

Award all costs as are equitable pursuant to Fla. Stat. 86.081; and

Grant any other relief as might be necessaryl

DATED: November 14, 2017

Respectfully Sul)mitted,

Law Offices of Matthew Troccoli, PA
Attorney for the Plaintifi`s

2250 SW 3)'d Ave., Ste. 303

Miami, FL 33129

Tel.: (786) 558-3850
matthewtroccoliesq@gmail.com

By'._/s/ Matthew Troccoli
Matthew J. Troccoli, Esq.
FL Bar No.: 0063454

`l'RULlNCS 80649004 - DlVEROL|, EFRAlM - Unit: COL-A-C

___________________________________________________________________________________

FROl\/l: Weavsr Esq, A Nlcole

TO: 80649004

SUBJECT: Co-Aulhor Agreement pt l
DATE: 04/08/2013 04:00:03 Plvl

WORK-FOR-HlRE CO-AUTHOR AGREEN|ENT USC %/

This Agreement (herelnafter. "Agreement") is made and entered into on (date Ll * %~ZU l 3 ), by and between Elraim Diveroli, a
resident of the state of Florida who s address is stated below (hereinafter, "Subject)'Author") and CO-AUTHOR a resident of the

state ot Florida who s address is stated below (hereinafterl "Co-Author")

RE.CITALS

A. WHEREAS, SubjectiAuthor desires to have a work (fu|| length memoir) written concerning his personal experiences
which current draft shall be annexed hereto and made a part hereof (hereinatler referred to as the "Work"); and

B, WHEREAS, Subject/Aulhor desires Co-Author to act as a Writer-l-'or-l-lire and preform the services that would more
commonly be associated with a erterfWorl<-For-l-lire, but shall supply Co-Author with credit as a collaborative Co-Author; and
C. WHEREAS, Co-Author has agreed to work as a Writer-For-Hire and write in collaboration with SubjectlAuthor an
original story outline based on true events of the subjects litel referred to in this agreement as the "Worl<," and

D. WHEREAS, The parties desire to establish all their rights and obligations in and to the work;

E. WHEREAS, Co-Author understands and agrees that this Agreement is intended to be a pre-incorporation Agreemeht,
and that the business or company set up to receive income from the sals, license or disposition of the Work shall, upon said
business or corporation being formally recognized under the law/incorporatedI adopt this Agraement and assume all rights and
liabilities set out in this Agreement, and Efraim Diveroli will no longer be personally liable for this Agreement;

NOW THEREFORE, in consideration of the mutual covenants hereinafter set forth, the parties agree as follows:

l . COLLABORAT|ON. A|though, the parties will be joint authoring the Work and shall be collaborating in the writing ot
the Worl< the ownership of the Worl< shall rest entirely in the Subject/Author.

2. COPYR|GHT.
a All copyrightsl renewa|s, and extensions thereof, in and to the material contained in the Worl<, shall be secured by

Subject and held in his name, as the sole and exclusive author and proprietor thereoi, together with all literary property and any
other rights in the Worl<l the title lhereof, and the characters and characterizations therein, in all language. forms, and media
now or hereafter known The foregoing shall include all literary rights, copyrights. and all intangible property rights of any kind
or nature whatsoever in any oral or written material prepared for or by or made available to, Co-Author in connection with the
Worl< and all intangible property rights in any tape recording made pursuant hereto. With respect to any oral or written material
which shall nol be directly or indirectly included or incorporated in the work, all rights in and to such material shall be the sole

property of Subject.
b. Co-Author acknowledges that the resulting efforts, drafts, writingl drawings and illustrationsl other worl<, such as
forewords, afterwords. pictorial, maps. charts, tables, editorial notes. arrangementsl answer material for tests. bibliographiesl

appendixos, indexes. "insiructional text". pictorial, graphic work andlor all other materials that come from such collaboration
(regardless ot lt they are considered "supplementary works") are covered by this Agreement, and as such are 'worl<s made for
hire‘ pursuant to 17 USCA §101(2). Al| authorship and ownership rights shall belong to the Subject/Author pursuant to 17 USCA

§201(13).

c.

registered with the Copyright Ofl'ice.

d Atl drafts, prior versions, noles. outlines or other materials nol actually registered shall still be considered the sole and
vest in Subject/Author.

ei<clusive property of the Subjecl/Author. and a non-registered Copyright shall
Co-Aulhor agrees that at the time or original oral agreement (prlor to the moment ot creation) that all Worl<s created

ade-for-hlre.
ll have no rightl title, or interest of any kind or nature whatsoever in the

On completion ot the worl<, it shall be registered in the name of Subject /Author, as the author and a copy shall be

e.
prior to this Agreement were to be considered works-m
t. Co-Author understands and agrees that he sha

V\Jork or receive any compensation whatsoever except as provided hereln.
g. ln the event that any of Co-Author s servicesl created under this Agreemenl, in whole or in part. are not deemed to be a

"worl< made for hire" for the SubjchAuthor, then Co-Aulhor hereby irrevocably and absolutely assigns, conveys and grants to
S ubioct/Auihor or any Company or business set up to receive income from the sale. license or disposition of the Worl<, its

successors designees, and assigns :
i. all rights, title and interests of every kind. nature and description in and to all of Co-Author s services. rendered under

this Agreernent without reservation whatsoever, and
il. irrevocably and absolutely assigns, conveys and grants to Subject/Author all world-wide copyrights and renewals and
` /> il/Z

we/)

_`FRULiNCS 80649004 - DiVEROL|, EFRA|M - Unit: COL-A-C

extensions thereof under any present or future laws throughout the worid.

3_ NATURE OF DUTIES.
a. Co-Author shall write the Work with SubjectiAuthor and Subject shall provide Co-Author with such data and information

as may be required to coilaboratively write the Work. in researching the Work, Co-Author shall interview Subject s experiences
Subject shall grant Co-Author access to pertinent documents where available. and will use Subject s best efforts to ensure Co-
;\Vuih:r access to interviews with Subject s former colleagues family andior other sides where relevant and necessary for the

Of .
b. Each party agrees to fully consult with the other and to make himself fully available to the other, in person or by
telephone, as each shall reasonably require, at reasonable times and places and in ali respects to render the fullest
cooperation to facilitate the research preparation, writing and review of the work.
4. NON-EXCLUS|VE SERV|CES. Co-Author shall render his services in connection with the Work on a non-exclusive
basis; provided, however, any services rendered by Co-Author for any other person. firm or corporation, prior Cc-££urthor own

,¢-¢"

account, shall not hamper or interfere with Cc»Author s obligations hereunder. {?’i
5. TlME OF COMPLETION. lt is contemplated that the work will be completed by not later than 10 ~ "&~ lot j

idate]; providedl however, that failure to complete the work by this date shall not be construed as a beach of this agreement on

the part of either party. However, each party shall use its best efforts to perform his obligations under the contracted that the
manuscript for the work is ready for submission to a publisher on or before ii.)~ 32~20 |'L (date). j?~jf, z

6. CHANGES Co-Auihor agrees to incorporate in the manuscript of the Work, ali suggestions instruc ons. additions
and/or changes as Subject Subject s Agent and/or Subject s publisher may request
7 APPROVAL: Subject shall have the complete right of approval of the final text of the Work, including but not limited to,

captions photographs index. titie, design. graphics book jacket. and credit. Subject, acknowledges that final text of the book
would be also subject to publisher s approval Therefore, "compiete approval" by the subject may be limited by contract with
publisher.

B. W|THDRAWAL FROM CO|..LABORAT[ON OR TERM|NAT|ON. ifl prior to the completion of the work, either party
voluntarily withdraws from collaboration or a dispute causes withdraw, or a dispute causes withdrawal of collaboration, then
only Subject)'Author s§'.uii have the right to complete the Work alone or in conjunction with another collaborator or coilaboratcrs.
in the event that Co~Author voluntarily withdraws or is terminated for causel the compensation to Co~Author, as provided in
Section 'ii(b) and (c) shall be revised based on quantum meruit or arbitration

9. CREDiT. Any contract for the sale or other disposition of the workl where the work has been completed by the parties
in accordance with this agreement, shall require that the story credit be given to the Authors in the following manner Co-Author:
CO-AUTHOR on the book cover and any other piece where authorship credit is customarily included on a book and on
advertising and promotion of the Work. Should the Worlc not be completed in accordance with this agreement so as long as
75% of work has been completed by Co-Author the same credit as stated above shall be glven. if ?’5% of work has not been
completed by Co-Author credit shall be determined by mutual agreement or arbitration (using the American Arbitration
Assooiation, under its ruies.)

10. EXPENSES. Co-Author shall be reimbursed all reasonable proven monthiy receipt expenses Reasonabie expenses
shall be limited to the definition oi copying, printing, maiiing that is under fifty US dollars ($50.00) unless pre-approved in writing
by Subject/Author). Co-Author shall have fifteen (15) days from the close of each month to submit any receipt expenses that Co
~Author desires to be reimbursed StibjectiAuthor is not responsible for any expenses submitted by Co-Author by said date.
l-lowever, if, SubjchAuthor does decide to repay a delayed expense it shall not be viewed as a waiver cf this requirement

11. PAYMENT. in consideration of ali the services rendered and to be rendered by Co-Author for Subject hereunder and
for all the rights granted and to be granted to Subject hereunder, Subject agrees to pay Co-Author compensation as follows:

a. Five hundred US dollars ($500) upfront payment which Co-Author. hereby acknowledges as paid in iulil l

b. Ten percent (10%) of gross royalties actually received directly by Subjecthuthor or any business or corporation set up
to receive income from the sale, license or disposition of the Work.

c. Five percent (5%) of gross royalties actually received directly by Subjecthuthor or any business or corporation set up
to receive income from the saie, license or disposition of any derivatives and/or ancillary products developed from the Work.
12. NON-DiSCLOSURE: _

a. Co-Author agrees that he will not. whether during the term of this Agreement or thereafter, use any material or
information provided to Co-Author by Subject in any manner whatsoever other than in the preparation of the Work. Co-Author
further agrees not to disclose to any third person. firm or corporationl or authorize to publish or authorize to be caused to bel
published, any information or personal experience relating to Subject. his tainiiy, his principal aides or any empioyee of Subject
without Subject's written consent first had and obtained Co-Author grants to Subject the right to institute legal proceedings to
prevent such acts or any of them by Co-Author, lt being acknowledged by Co-Author that information may become available to
hirn having a special, unique, extraordinary and confidential nature, of great and peculiar value to Subject, and that Subject
would not have an adequate remedy at law ii Co-Author should use or disclose such material or information to another without
Subject's written consent, or in the event that Co-Author should authorize the publication of or cause to be published any such
informationl including but not limited to, a fictionaiization of the material which becomes available to Co-Author by reason of this

Agreement. Pub|ication of the Work, with Subject's written approvall shall not be deemed a breach of this provision.
/??il

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-”RULINCS 80649004 - DiVEROLi, EFRAiM - Unit: COL-A-C

-----------------------------------------------------------------------------------------------------------

:). Co-Author agrees that ali terms of this Agreement shall remain confidential and shall not be disclosed to any person or
entity by any party hereto, or by the attorney of Co-Author. Co-Author expressly represents and warrants that it has not
publicized and will not publicize in any manner, either personally or through an agent or representative. or undertake to or aid or
assist any third party in publicizing or exploiting in any form whatsoever, by any means whatsoeverl in any medium whatsoever,
the terms of this Agreement. in the event of the following situations the terms may only be disclosed to the minimum extent
cecessary: (i) insofar as disclosure is required pursuant to a subpoena issued by a court of competent jurisdiction; (ii) as
reasonably required for the purpose of complying with state and federal laws or (iil] if necessary to enforce the terms of this

egreement in any proceeding

/`frc

TRULiNCS 80649004 - DiVEROL|, EFRAiM - Unit: COL-A-C

FROM: Weaver Esq, A Nicole

TO: 80649004

SUBJECT: co-author agreement pt 2
DATE.' 04)'08/2013 04:00:03 Plvl

i3. REPRESENTATIONS AND WARRANT|ES El¥ SUBJECT. Subject hereby represents warrants and agrees lhat:

(a) i-le has no other contractual commitments which will interfere or conflict with the performance of his obligations hereunder;
(b) All material furnished by Subject shall be his own work and shall not infringe upon or violate any copyright proprietary right
or the right of privacy, or constitute a libel or slander against cr violate any common law right of any person, firm or corporation,
and any adverse claim that the Work invades the right of privacy or libels slanders, or violates any common law right or any
other right of any person, firm or corporation by reason of any material furnished by Subject. will be defended by Subject.

(c) lie will indemnify and hold harmless Co-Author, his successors executors administrators and assigns from and against
any and all claims demands suits losses costs expenses (including any amount paid by Co-Author in settlement but only if
consented to by Subject) which may be obtained against, imposed upon, or suffered by Co-il\uthorI his executors

administrators successors and assigns by reason of the utilization consistent with this Agreement of any material furnished by

Subject

14. REPRESENTAT|ONS AND WARRANT|ES.
a4 Co-Author hereby represents warrants and agrees that:
i. He has rio other contractual commitments which will conflict or interfere with the performance of his obligations
hereunder;
shall be his own work and shall not infringe upon or

Ali material written by himl except all material furnished by Subject,
ght of privacy or constitute a libel or slander against or violate any common law

y adverse claim that the Work invades the right of privacy or libels slandersl or
tof any person, firm or corporation by reason of any material furnished by Co-

ii_
violate any copyright, proprietary right or the ri
right of any personl firm or corporation, and an
violates any common law right or any other righ

Author will be defended by Co-Authcr;

iii, l-le will indemnify and hold harmless Subject, his successors executors administrators and assigns from any and ali
claims demands suits losses costs expenses (inciuding any amount paid by Subject in settlementl but only if consented to
by Co~Author) which may be obtained against, imposed uponl or suffered by Subject, his executors administrators successors

and assigns by reason of the utilization consistent with this Agreement of any material furnished by Cc-Author.
b Ali warranties and representations of Subject and Grant shall survive the termination of this Agreement.

tt§. DEATl-l OF SUBJECT OR CO-AUTHOR.
a. if Subject dies before a publisher accepts the manuscript of the Work:

Subject's executors administrators or such other person as Subject shall designate in his will thereafter
hether cr not a manuscript for the Work may be completed if the

hich it may be completed, Subject 2 shall continue

l.
"Ftepresentative") shall confer with Co-Author to determine w
manuscript is in the opinion of the Subject's Representative at a point at W
and complete his services in accordance herewith;

lt may be completedl Co-

ii. ll Subject's Representative is of the opinion that the manuscript is not at a point at which
tative all materials of any kind produced or gathered hereunder; Co-Author shall

Author shall immediately return to the Represen
retain all funds previously paid him but shall not be entitled to any additional paymentl provided that ifthe manuscript of the
Work is subsequently published in substantially the form prepared by Co-Author before termination hereunder, Co-Aulhor shall

be entitled to be paid in full pursuant to this Agreement.

b. if Co-Author dies within six months after the commencement of his services his estate:

i. SubjectiAulhor acknowledges that a great deal of work has been completed , thereforel Co~Author s estate shall not be
liable to repay to Subject the compensation previously paid to Co-Author in Section ‘il(a). ; and

li. ii Co_Author dies after six months from the commencement of his services hereunder, but before a published accepts
the manuscript of the Workl his estate shall have the right to retain all compensation previously paid to Co-Author. if the Work
is accepted by a publisher in substantially the form left by Co-Author, Co-Author s estate shall retain the fee paid and provided
for in clause it(a) of this Agreement, and shall be entitled to receive the compensation provided for in clause t‘l(b)and ii(c] ,
less any amounts already paid under those provisions and less any reasonable expenses incurred by Subject in having
services performed that would be been performed by Co-Aulhor hereunder had he iived.

iii. if Co-Author dies before acceptance by Subject and a publisher cf the Work, Co-Author s estate shall turn over to
Subject all material for the Work prepared by Co-Author obtained by Co-Author from a third partyl or contributed by him to
Subject to him, and all rights therein and thereto shall be the sole property of Subject

16 lNDEPENDENT CONTRACTOR. Co-Author s relationship to Subject hereunder is that of an independent contractor.

Co-Authcr represents and warrants that Co-Author has the absolute right end authority to enter into this Agreernent as an
independent contractor and Co harmless frorn any iiabillty, claims and

demands made against Subject for a income tax and
other withholdings deductions and payments required by Federel or state laws to be paid by Co-Author.
17. it is expressly understood that the parties do not. by this Agreement, intend to form_ nor shall this Agreement be

‘ /L ’? r

-Author shall indemnify Subject and hold Subject
ll commissions unemployment and disability lnsurance, social security,

TRUL]NCS 80649004 - DlVEROLl, EFRA|M - Uni'i:: COL-A-C

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construed to constitutel a partnership between them.
iB. UN|QUE SERVlCES: Co~Author s acknowledges that the services to be rendered by Co-Author s hereunder are of a

special, unique, unusuai, extraordinary and intellectual character which gives them a peculiar value, the loss of which cannot be
reasonably or adequately compensated in damages in an action at lawl and that a breach by Co-Author of any of the provisions
of this Agreement will cause Company great and irreparable injury and damage. Co-Author expressly agrees that Company
shall be entitled to the remedies of injunction and other equitable relief to enforce this Agreement or to prevent a breach of this
Agreement or any provision hereof, which relief shall be in addition to any other remedies for damages or otherwise, which

may be available to Company. W Q/i)pé
'iQ. JUR|SD|CT|ON. This Agreement shall in all respect » construed in accordance with and governed by the laws of the

State of Florida, without regard to confiict-of-|aw rules in the event of litigation of this Agreement, exclusive jurisdiction and
venue shall rest in the state or federal court serving c -i County, Florida, and each of the parties expressly consents to
personal jurisdiction and agrees to Waive any challenge to venue or personal jurisdiction in such court. This Settiement
Agreement its validity, its construction. and all matters relating to the relationship between the parties regarding the services
shall be governed by Florida iaw.

20. SEVERAB|LlT¥. lf any provision of this ngreement or the application of the provision to any person or circumstance is
illegal or invalid for any reason whatsoever, the illegality or invalidity shall not affect the validity of the remaining terms

21 . OPPORTUN|TY TO SEE|»< COUNSEL. Co-Author acknowledges by signing this Agreement that he has read and
understands this document, that he has conferred with or had the opportunity to confer with an attorney of his/her choice
regarding the terms and meaning of this Agreement, that he has had sufficient time to consider the terms provided for in this
Agreement, that no representations or inducements have been made to him/her other than as set forth herein, and that he has
signed the same knowingly and voluntarilyl

22. NOTlCE. Any formal notices hereunder shall be in writing and shall be given either by personal delivery. fax (with
confirmation from receiving partyj, express overnight mail carrier or by certified US rnaill postage prepaid, return receipt
requestedl and the date of such personal delivery, tax confirmation from receiving party, or the date of signature on codified US
Posta| Service mailingl shall serve as the date of said notice in each case addressed to the appropriate party at the address

S/’/’" /f/r’c

listed as foilows:

 

 

 

Diveroli Address: {O jo Co-A”uthor Address:
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Or lo such other address as either party may provide to the other in accordance herewith.

23. ENT|RE AGREEMENT. This Agreernent constitutes the entire agreement of the parties relating to the subject matter
contained herein. There are no representations agreements arrangements or understandings oral or written. between or
among the parties relating to the subject matter of this Agreement that is not fully expressed specifically in this Agreement.
Neither this Agreement nor any of its terms may be alteredl amended, modified, canceled or waived other than by written

instrument executed by each party hereto.

|N WlTNESS WHEREOF, The parties have carefully reviewed this contract and agree to and accept its terms and conditions
The parties signed below are executing this Agreement as of the day and year first written above.

Signature: /‘7&7&\

Cc)-Author: M<}/jicw K€Vna Co)\ (PrintCo-Aulhorl\lame)

Signature.‘ /z:/£/?W%z/~d/J”

Subject: Efraim/Divero|l

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Certiiicate Of Registration

 

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COPYRIGHT ASSIGNMENT

WHEREAS, Efraim Diveroli, an individual with an address at 4444 Michigan Avenue,
Miami Beach, FL 33140 (hereinafter “Assignor”), is the owner of all right, title, and interest
(inciuding all copyright rights) to U.S. Copyright Registration No. TXu0019116'/'6 and the works
contained therein (bereinafter “the Works”); and

WHER_EAS, Assignor desires to assign and transfer all right, title, and interest in the
Works to Incarccrated Entertainment, LLC, a Florida limited liability company with an address
at 2901 Kensington 'l`race, Tarpon Springs, FL 34688 (hereinafcer “Assignee");

NOW, THEREFORE, Assignor, for TEN DOLLARS ($10.00) and other valuable
consideration receipt of which is hereby acknowledged, does hereby assign and transfer tc
Assignee all right, title, and interest in and to the Works, as well as all copyright rights therein,

and any and all prior causes of action, damages, and/or rights which may have accrued prior to

the date of this Assignrnent.

EFRAIM DIVEROLI

Signature: W£\/“'//

Date: ?///Qz/ZO/G

Assignment of Life Story Rights
WHEREAS, Efrairn Diveroli, an individual with an address at 44»44 Michigan Ave.,
Miami Beach, FL 33140 (hereinatter “Assignor”), is the owner of all rights, title and interest to

his life story rights (hereinafter “the Rights”); and

WHEREAS, Assignor desires to assign and transfer all right, title and interest in the
Rights to incarcerated Entertainment, LLC, a Florida limited liability company with an address at
2901 Kensington Tracc, ’I`arpon Spriugs, FL 34688 (bereina_tter “Assignee”). The scope of the
Rights conveyed are limited to the Rights which exist at the time ot` execution of this Agreernent
and does not include the right to future life story rights

NOW, THEREFORE, Assignor, for TEN DOLLARS ($10.00) and other valuable
consideration receipt of which is hereby acknowledged does hereby assign and transfer to
Assig'nee all right, title and interest in and to the Rights, and any and all prior causes of action,

damages_. and/or rights which may have accrued prior to the date of this Agreement with regard

to any infringement upon the R_ighls.

EFRAIM DWEROLI
Signature: ¢f/Ad;» j‘?-`-//
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EXHIBIT 5

TRULlNCS 40171018 - COX, MA`l_l`HEW BEVAN - Unit: COL-B-D

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FROM: 40171018

TO: Kline. Matt; Turkel, Kenneth
SUBJECT: Communication with Counsel...
DATE: 04!22:'2017 01 :48:34 PM

Dear N|r. Turkel,

lt is my understanding that on Aprii 21 you filed an "opposition" to my request for leave to file a Reply. (Doc. No. 115). As
soon as l receive a copy of your submission, l will determine if a response is appropriatel l do notel however, that you did not
comply with Loca| Rule 3.01(c), which requires you to obtain the couit's permission before filing your submission See M.D. Fla.
Loca| Ru|e 3.01(c)("No party shall file any reply or further memorandum directed to the motion or response...unless the Court

grants ieave.") | willl therefore be moving to strike your unauthorized submission

I understand that you were not lE's counsel last April when Rebacl< and Diveroli filed their original (fraudulent) lawsuit against
Warner Bros. Pictures. lt is further my understanding that your firm was retained to represent lE in connection with its SECOND
complaint against Warner after lE had decided to withdraw its frivolous original complaint See Doc. No. 89 at 2 ("Rather than
oppose the motion, lE hired NEW counsel and W|THDREW its [original] complaint.”)(emphasis added).

Look, l am not trying to visit the sins of the farther upon the son. l am not suggesting that your firm was compiicit in IE's
scheme to defraud Warner Bros. by bringing its frivolous and "objectively unreasonab|e" claim that Reback and Diveroli had
manufactured See Vlva Video v. Cabrera, 9 Fed. App‘x 77. 80 (an Cir. 2001 )(claims are objectively unreasonable if they
"have no legal or factuai suppor't“); see also Si|berstein v. Fox Entm't Grp.l 536 F. Supp. 2d 440. 444 (S.D.N.Y. 2008)(courts
have concluded that claims that are "devoid of legal or factual basis ought to be deemed objectively unreasonable.") l

Because of your late arrival in this matter, you have no first-hand basis of knowing what had, iri fact, transpired earlier. l
Therefore, | am putting your law firm on notice that your clients - Ret)aick and Diveroli -- manufactured their fraudulent claim
that Warner had stolen Divero|i's story to make the film "War Dogs." Understarid, l was present during the conversation
between Rebacl< and Diveroli when they hatched their scheme to manufacture their fraudulent claim for the purpose of
extracting an unwarranted settlement (At the appropriate time l will divulge all of the pertinent facts relevant to Reback's and
Diveroli's scheme which included, inter alia, utilizing Diveroli's cousin iri LA to set the trap in order to manipulate the son of
Warner Bros.‘ president into taking possession of the "Gun Runner" manuscript, so that Reback could then falsely claim that
Warner Bros. had stolen elements of the story for its film.) This is the primary reason | could not participate in the earlier action.
Not only have Reback and Diveroii committed a fraud on the court. Diveroli also committed a fraud on the Copyright Office by

concealing these material facts

lt is my position that joinder is required under Ru|e 19(a)(1)(A) because neither lE nor Warner can obtain complete relief l
without resolving my claim altogether. |n the event | am riot permitted to intervene in the pending lawsuit, be advised that l will

initiate independent civil actions against both |E end Warner which l will then move to have consolidated

Best,
Matthew B. Cox

cc. Matthew Kline
O'Melveny & Myers LLP

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TRUL|NCS 40171018 - COX, MATTHEW BEVAN - Unit: COL-B-D

___________________________________________________________________________________________________________

FROi\/i; 40171018

TO: Biscay, Cameron; Kline. Matt; Turkei, Kenneth
SUBJECT: Missive...

DATE: 08/09/2017 12:21:33 PM

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To: Matthew Kline
O'l\/|e|veny & Myers, LLP

To.' Kenneth Turke|
Bajo, Cuva. Cohenl Turkei

Re; incarcerated Entertainment v. Warner, No. 8:'|6-cv-130i-T-35~UA (lGC)

Gentiemen:

| write to let Warner know that i have assembled the materials that are responsive to its subpoena request However, there
are two issues | would like to briefly address First, the inmate copier here at Coieman is not working The administration has
posted a memorandum indicating that the copier will be serviced this week. (Those of us with experience in dealing with the
BOP in such matters believe that's optimistic.) Neverthe|ess, i will include a copy of the institution memo along with the cover

letter l‘m sending when l mail Warner the materialsl

Second, l am troubled by the fact that l am asked to respond to a subpoena and participate in a deposition before the court
rules on my motion to intervene Whi|e | do not mind turning over materials that are relevant to the lawsuit, | do believe that
what's going on is unfair because neither Warner nor lE has any obligation to provide anything to me. To that end, l'll be
contacting the court because l believe the current posture is untenable if l‘m going to have to participate in producing evidence,
it's only fair that | be allowed'to make requests as we||. |f | were a party to the suit, | would certainly be allowed to do so.

if the court decides to grant my motion to intervene, i'|i promptly submit my discovery demandsl if, however, the court denies
my motion to intervene, l will immediately file a notice of appeal with the Eleventh Circuit, and l will also initiate independent civil

actions against Warner and lE that l will then move to consolidate

As |'ve previously indicated, l have a right to intervene because | have alleged claims of copyright infringement and fraud on
the Copyright Office. See 17 U.S.C. section 501(b) (stating the court "sha|| permit the intervention of any person having or

claiming an interest in the copyright").

Also, a review of the factual contentions lE made in its original complaint reveals that Diveroli had a preexisting contractual
relationship with Guy Lawson that Diveroli intentionally concealed from me during the course of our negotiations and throughout
our relationship See Originai Complaint (Doc. No 1) at para. 31-32, 34-35. The representations that Diveroli made to persuade
me to write the memoir were false or materially inaccurate lE's complaint conclusively establishes that the agreement between
Diveroli and | was procured through fraud in the inducement Based upon these acts, the agreement between Diveroli and | is

void.
if l arn permitted to conduct discovery, l will be able to obtain the evidence from lE and Diveroli to establish that the contract

between Diveroli and | is void and, therefore, that | am the rightful owner of the copyright By establishing these facts, l will have
substantiated my claim that lE lacks standing to sue Warner and that | am the proper plaintiff

t just recently obtained a copy of the court's docket and discovered that there is some kind of mediation conference scheduled
for later this month. l want to inform both Warner and lE that | object to any mediation conference taking place without my being

afforded an opportunity to participate as wel|.

Best,
l`viatthew B. Cox

